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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



DEBRA FAHMIE,

              Plaintiff,

v.                                           CASE NO. 4:19cv240-RH-EMT

ANDREW SAUL,
Commissioner of Social Security,

              Defendant.

___________________________/


                    ORDER AWARDING ATTORNEY’S FEES


       This case is before the court on the magistrate judge’s second report and

recommendation, ECF No. 30. No objections have been filed. Upon consideration,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as the court’s

opinion. The plaintiff’s motion for attorney’s fees, ECF No. 29, is granted. Fees

are awarded to the plaintiff in the amount of $8,547.05. The fee award is subject to

any proper offset and may be paid by delivery of check payable to the plaintiff but




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mailed to her attorney.

       SO ORDERED on January 11, 2021.

                              s/Robert L. Hinkle
                              United States District Judge




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